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      EXHIBIT 16
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Mornin, Joe

From:                                     Akrotirianakis, Joe <JAkro@KSLAW.com>
Sent:                                     Friday, February 14, 2020 2:18 PM
To:                                       Grooms, Daniel
Cc:                                       LeBlanc, Travis; Mornin, Joe; Wong, Kyle; Craig, Aaron
Subject:                                  RE: WhatsApp, et al. v. NSO Group et al.



[External]

Daniel,

Please let me know when you are available to discuss. I have reviewed the docket entry from yesterday’s
hearing. Thanks.

Joe

–––
Joseph N. Akrotirianakis
Partner

T: +1 213 443 4313 | E: jakro@kslaw.com


From: Grooms, Daniel <dgrooms@cooley.com>
Sent: Wednesday, February 12, 2020 8:43 AM
To: Akrotirianakis, Joe <JAkro@KSLAW.com>
Cc: LeBlanc, Travis <tleblanc@cooley.com>; Mornin, Joe <jmornin@cooley.com>; Wong, Kyle <kwong@cooley.com>;
Craig, Aaron <ACraig@KSLAW.com>
Subject: WhatsApp, et al. v. NSO Group et al.

**External Sender**
Mr. Akrotirianakis,

I write to follow up on the phone conversation we had yesterday. You proposed that you would enter an appearance
and accept service on behalf of the defendants if, in exchange, we would (1) agree to postpone the case management
conference and (2) agree to an extended briefing schedule of three months for you to file a Rule 12 motion. We have
discussed your proposal with our client. Our view remains the same as in our prior correspondence: we are amenable to
working with counsel of record to develop an appropriate briefing schedule, but we cannot pursue that discussion until
you or other counsel enter your appearance with the Court.

Thank you,
Daniel Grooms

Daniel Grooms
Partner
Cooley LLP
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Washington, DC 20004-2400
+1 202 776 2042
dgrooms@cooley.com




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